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                        UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION

NATIONAL COLLEGIATE ATHLETIC
ASSOCIATION STUDENT – ATHLETE
CONCUSSION INJURY LITIGATION, ET AL

                                        Plaintiffs,

V.                                                         Case No.: 1:13-cv-09116
                                                           Honorable John Z. Lee

NATIONAL COLLEGIATE ATHLETIC ASSOCIATION

                                        Defendant.


  PLAINTIFF JULIUS WHITTIER’S RESPONSE TO THE JOINT MOTION
          FOR PRELIMINARY APPROVAL OF SETTLEMENT
           AND CERTIFICATION OF SETTLEMENT CLASS

        COMES NOW, Plaintiff, Julius Whittier, and files this his Response to the

Joint Motion for Preliminary Approval of Class Settlement and Certification of

Settlement Class and in support thereof, would show the Court as follows:

        The Class Plaintiffs and the Defendant (hereinafter referred to as (“Parties”)

in the Joint Motion for Preliminary Approval of Class Settlement and Certification

of Settlement Class move for preliminary approval of the Settlement Agreement

pursuant to FRCP 23(b)(2) and 23(d)(1) or alternatively, Rule 23(b)(3). As the Court

is aware by Plaintiff Whittier’s Objection to Preliminary Approval of Settlement

Agreement and Plaintiff Whittier’s Memorandum in Support of Plaintiff Nichol’s

Renewed Motion to Appoint Jay Edelson As Lead Class Counsel for the Personal

Injury Class (Doc. No. 146), Whittier has challenged the Parties Joint Motion for

Preliminary Approval under FRCP 23(a) and for the reason that the interim class

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counsel failed to adequately represent the putative personal injury class members

in the Settlement Agreement.

                                 RULE 23(C)(5) DUE PROCESS

         Plaintiff Whittier would submit that in order to protect the due process rights

of the personal injury class members, the Court should consider FRCP 23(c)(5) in its

evaluation of the Joint Motion for Preliminary Approval of the Settlement

Agreement and Settlement Class. Rule 23(c)(5) states that: “When appropriate, a

class may be divided into sub-classes that are each treated as a class under this

Rule.”

         As the Court knows, the Plaintiff’s class action suit is a single-action

litigation of multiple claims in a representative class.1 The class action serves four

purposes, supports judicial economy, provides forum for redress of small claims too

expensive to pursue individually, and cuts costs for both Plaintiffs and Defendants.

Rule 23(a) is entitled, “Prerequisites To A Class Action, and the Parties’ reliance on

Rule 23(b), presumes that the requisites of Rule 23(a): commonality, typicality and

numerosity have been met by the class.

         However, the fact that the Rule 23(a) prerequisites are satisfied does not

mean that the class should be certified as a class action.2 Rule 23 only sets the

baseline qualifications and it imposes additional conditions for the class to be




1
  College of William and Mary Law School, William and Mary Law School Scholarship Repository, Dotson/Scott,
“sub-classes (2006), Faculty Publication, p. 724.
2
  Id. at p. 2357, Advisory Committee Note to 1966 Amendments (stating that Rule 23(a)’s prerequisites are
“necessary but not sufficient conditions for a class action.”

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“maintained” as a class action to insure that the class action is the best method for

resolving the disputes.3

              CLASS ACTION SUPERIOR TO SEPARATE LITIGATION
                        OF PERSONAL INJURY CASES

         Class action is a necessary joinder device to prevent the injustices that would

result from separate litigation. In the Joint Motion for Preliminary Approval of the

Settlement Agreement, the Parties have moved for preliminary approval of the

Settlement Agreement in the alternative under Rule 23(b)(3). Rule 23(b)(3) is a

catchall, discretionary aggregation device for cases that do not inherently lend

themselves to class treatment, but nevertheless may be adjudicated on a class basis

if efficiency is furthered and adequate representation is secured.4 Rule 23(b)(3)

allows for certification when “the Court finds that the questions of law or fact

common to members of the class predominate over any questions effecting only

individual members, and that a class action is “superior” to other available methods

for the fair and efficient adjudication of the controversy. 5 That common questions

predominate, however, is not itself sufficient to justify a class action under Rule

23(b)(3), since another method of handling the litigious situation may be available

which has greater practical advantages.6

         One common application of this “superiority analysis” is in negative value

claims which are too low value for most claimants to litigate separately given the
3
  Id. at 2357, See Rule 23(b).
4
  Id. at 2358, See Rule 23(b)(3) Advisory Committee’s Notes to 1966 Amendment (“stating that Rule 23(b)(3)
encompasses those cases in which a class action would achieve economies of time effort and expense and
promote uniformity of decision as to persons similarly situated with sacrificing procedural fairness or brining about
other undesirable results”).
5
  Id. at 2358.
6
  Id. at 2359.

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costs of the litigation but which are viable in the class mechanism, which spreads

and economizes the costs.7 The claims of Plaintiff Whittier and other former NCAA

athletes who are in the age range from 45 to 65, who are suffering from advanced

symptoms of PCS such as early onset Alzheimer’s or negative value claims which

would benefit from a Court applying the “superiority analysis.”8 The benefit for

Plaintiffs of a large class means less pro rata costs to each individual, a higher

award upon a successful judgment, and increased pressure on the Defendant to

settle. It has been held that Rule 23(c) provides a mean for the Court to save

otherwise uncertifiable class actions.9 Under subsection (c)(5), it has been argued

that one role of sub-classing is that sub classing could help the global class meet the

certification requirements.10 For example, the global class that by itself would fail

the adequacy of representation requirement of Rule 23(a) because of divergent

interests among class members, may be able to meet that requirement through

subclasses. Plaintiffs Whittier and Nichols have complained to the Court about the

inadequacy of interim class counsel arising from the same consideration, divergent

interests among class members, as expressed by class counsel’s agreement to waive

the class claims of class members suffering from personal injuries. It is then logical

that, “by isolating divergent interests and separate subclasses with separate




7
  Id. at 2359.
8
  Id. at 2359.
9                                                                                th
  Id. at 2362; Central CNT Westland Coll. V. W.R. Grace & Co., 6F 3d, 177, 190 (4 Cir. 1993).
10
   Id. at 2362.

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representatives, the subclasses resolve the global classes adequacy problems,

including adequacy of counsel, and both can be certified under Rule 23.”11

            THE SUPREME COURT ENDORSES USE OF SUBCLASSES

         The use of subclasses was addressed by the Supreme Court in the case of

Amchem Products, Inc. v. Windsor.12 The Court noted that settlement is relevant to

a class certification and the Court continued, “class requirements designed to

ensure adequacy of representation ‘demand undiluted, even heightened,’ attention

in the settlement context.”13                   In discussing the adequacy of representation

deficiency, the Court in Amchem, alluded to the lack of sub-classes.

         The case of Ortiz v. Fibre Board Corp.14 is another case in which the Supreme

Court addressed the issue of subclasses in the context of certifying a mandatory

settlement class on a limited fund under Rule 23(b)(1)(B). The Court held that

Plaintiffs must show that the fund is limited by factors other than settlement and

that allocation of settlement funds has addressed “any internal class conflicts.”15

The Court noted that the class in that case failed to include several types of

claimants, and that to be maintained as a limited fund under Rule 23 (b)(1)(B), the

District Court should have provided a structural protection of Rule 23(c)(4) 16


11
   Id. at 2363, 2365.
12
   521 U.S. 591 (1997)
13
   Id. at 626, 627 “[W]here differences among members of a class are such that subclasses must be established, we
know of no authority that commits a Court to approve a settlement without creating subclasses on the basis of
consent by members of a unitary class, some of whom happen to be members of the distinct subgroups.” (quoting
in Re Joint E. & S. Dist. Asbestos Lit., 982 Fed. 2d, 721, 742-43 (Sec. Cir. 1992).
14
   527 U.S. 815 (1999).
15
   Id. at 821 (“We hold that applicants for contested certification on this rationale that the fund is limited by more
than the agreement of the parties and has been allocated to claimants belonging within the class by a process
addressing any conflicting interest of class members.”
16
   Amended 2007 to Rule 23(c)(4) and Rule 23(c)(5).

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structural protections of Rule 23(c)(4) (now 23(c)(5) subclasses to maintain equity to

all Plaintiffs.17

        Ortiz contains several allusions to subclasses and their role, and it stands for

the principal that subclasses may be necessary to certify a global class.18 The Rules

of Civil Procedure do not give any explicit guidance as to when it is appropriate for

the Court to subclass.19             Therefore, the Court has some discretion to use Rule

23(c)(5) to further the goals of Rule 23.20 Rule 23(c) deals with housekeeping issues

and due process protections, not class certification requirements.21 Although some

have argued that Rule 23 (c) is designed to deal with class “management issues”

Rule 23(c) itself speaks to certification issues and it cannot be restricted to non-

certification “management issues.” Rule 23(c)(5) states that each subclass divided

from the class, “shall be treated as a class under this rule.” Moreover, Rule 23(c)(1)

also speaks to certification issues because it speaks to when certification should be

determined.22 The manageability provisions of Rule 23(c) must be designed to work

in tandem with the requirement of superiority of Rule 23(b)(3), it would be odd for a

Court confronted with a Rule 23(b)(3) class to determine whether or not the class is

manageable without looking to Rule 23(c) provisions specifically addressing

manageability issues.23


17
   Sub classing at 2368, See also Amchem at 855 (“Finally, as discussed below, even ostensible parity between
settling non-class plaintiffs and class members would be insufficient to overcome the failure to provide the
structural protection of independent representation as for subclasses with conflicting interests”).
18
   Sub classing at 2369.
19
   Id. at 2372.
20
   Id. at 2372.
21
   Id. at 2379.
22
   Sub classing at 2380.
23
   Id. at 2380.

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                                   CONCLUSION

        The Supreme Court opinions both in Amchem and Ortiz are instructive to the

Court in the instant case as it considers the Parties’ Joint Motion for Preliminary of

Settlement Agreement and Certification of Settlement Class. The Court in both

instances highlight the role of Rule 23(c)(5) in protecting due process rights, such as

adequacy of representation and adequacy of class counsel.          Moreover, there are

equity considerations founded in Rule 23(c)(5)’s protections of the primary reasons

for the joinder device of class certification: to prevent the injustice that would result

from separate litigation. Therefore, if the Court is considering granting the Parties’

Joint Motion for Preliminary Approval of Settlement Agreement and Certification of

Settlement Class, that as part of such approval, the Court follow the instructions of

the Supreme Court in Amchem and Ortiz and create a subclass of personal injury

claimants pursuant to Rule 23(c)(5) represented by separate counsel from interim

class counsel.

        Plaintiff Whittier incorporates by reference as if fully set forth herein Doc.

No. 146, Plaintiff Julius Whittier’s Memorandum in Support of Plaintiff Nichol’s

Renewed Motion to Appoint Jay Edelson as Lead Counsel for the Personal Injury

Class, and its analysis of the Settlement Structure in its Opposition to the Joint

Motion of the Parties.

        WHEREFORE PREMISES CONSIDERED, Plaintiff Julius Whittier, prays

that the Court apply Rule 23(c)(5) to the proposed Settlement Agreement

establishing a sub-class composed of personal injury claimants with separate class



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counsel and that until such subclass is created, all Motions of Preliminary Approval

of Settlement Agreement and Class Certification are denied.

        Date: May 8, 2015.


                                             Respectfully submitted,


                                                   /s/ Dwight E. Jefferson
                                             By:________________________________
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                             CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was
filed electronically via CM/ECF, which caused notice to be sent to all counsel of
record on this 8th day of May, 2015.

                                                   /s/ Dwight E. Jefferson
                                             By:________________________________




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